Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 1 of 8 PageID #:1299




                EXHIBIT A
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 2 of 8 PageID #:1300

                                                                                  1

   1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                               EASTERN DIVISION
   3
        UNITED STATES OF AMERICA,               )
   4                                            )
                             Plaintiff,         )
   5                                            )
        -vs-                                    )   Case No. 16 CR 590
   6                                            )
        MARCO PROANO,                           )   Chicago, Illinois
   7                                            )   November 8, 2016
                             Defendant.         )   10:30 a.m.
   8
   9                          TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE GARY FEINERMAN
 10
 11     APPEARANCES:
 12     For the Government:          HON. ZACHARY T. FARDON
                                     UNITED STATES ATTORNEY
 13                                  BY: MS. GEORGIA N. ALEXAKIS
                                          MS. ERIKA L. CSICSILA
 14                                  219 South Dearborn Street, Suite 500,
                                     Chicago, Illinois 60604
 15                                  (312)353-5300
 16
 17     For the Defendant:           LAW OFFICES OF DANIEL Q. HERBERT
                                     BY: MR. DANIEL Q. HERBERT
 18                                  206 South Jefferson Street
                                     Suite 100
 19                                  Chicago, Illinois 60661
                                     (312) 655-7660
 20
 21
        Court Reporter:
 22
                           CHARLES R. ZANDI, CSR, RPR, FCRR
 23                             Official Court Reporter
                             United States District Court
 24                      219 South Dearborn Street, Room 2128
                               Chicago, Illinois 60604
 25                           Telephone: (312) 435-5387
                       email: Charles_zandi@ilnd.uscourts.gov
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 3 of 8 PageID #:1301

                                                                                  7

   1    disagreement?
   2               MS. ALEXAKIS: I don't believe there -- one thing
   3    that might be a little unresolved is there was a motion asking
   4    for the early setting of deadlines related to exhibit lists
   5    and witness lists; and the parties have discussed that what
   6    might make more sense is to set a trial date with the Court,
   7    and then the parties can confer amongst themselves and sort of
   8    work backwards from that trial date as to what might be a
   9    reasonable deadline.
 10                MR. HERBERT: Agreed. One issue I think we've
 11     resolved, I think, in a minor way, but there's still other
 12     issues that we're going to ask the Court for intervention on,
 13     is the bill of particulars. And if -- essentially what we're
 14     looking for, Judge, is we are looking for more specificity
 15     regarding the charges in this case so that we can accurately
 16     prepare our defense.
 17                THE COURT: I have to confess, I have trouble even
 18     beginning to understand your argument on that.
 19                MR. HERBERT: That's --
 20                THE COURT: Because we have -- in most cases, we
 21     don't have a videotape of the alleged criminal conduct, and
 22     here we do.
 23                MR. HERBERT: Right.
 24                THE COURT: So, watch the video. That will give you
 25     everything you need to know in order to defend the case. And
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 4 of 8 PageID #:1302

                                                                                  8

   1    again, maybe it's criminal; maybe it's not. But I don't see
   2    how you could reasonably say that you don't know what
   3    Mr. Proano is being charged with doing. Tell me what I'm
   4    missing.
   5               MR. HERBERT: Sure. First of all, with respect to --
   6    the indictment alleges bodily injury. I am assuming that the
   7    bodily injury referred to is gunshot wounds, but I want to
   8    make sure that there's not going to be an allegation that in
   9    the course of an arrest, somebody twisted his ankle and that
 10     that is the bodily injury. And I don't mean to make up a
 11     preposterous argument, but I don't think it's that burdensome
 12     of the government to identify the gunshots as being the bodily
 13     injury.
 14                THE COURT: Did the Rule 16 discovery have anything
 15     about gunshot wounds?
 16                MR. HERBERT: I'm sure it did, your Honor. I can't
 17     represent for sure, but I'm sure it did have information about
 18     gunshot wounds.
 19                THE COURT: And is there any scenario that you could
 20     envision where the government would be proceeding on a twisted
 21     ankle, as opposed to a gunshot wound?
 22                MR. HERBERT: The only scenario that I could see is
 23     if the evidence was going in poorly regarding the shots, in
 24     other words, the trial of fact appeared to believe that the
 25     shots were reasonable, I certainly would not want the
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 5 of 8 PageID #:1303

                                                                                  9

   1    government -- and I'm not implying anything underhanded on the
   2    government's part, but if the government were able to prove
   3    that an injury -- a separate injury sustained during the
   4    course of the arrest was -- results in bodily injury, then
   5    even if the shots were found to be not unreasonable, then they
   6    could still proceed and be victorious based upon that other
   7    injury, if that makes sense.
   8               THE COURT: I understand what you're saying. I'm not
   9    sure it's even a theoretical possibility. Let me ask the
 10     government for its thoughts.
 11                MS. ALEXAKIS: Your Honor, I believe -- I thought
 12     that the government had settled this with the defendant last
 13     week, but we represented in a telephone conversation with the
 14     defendant, and we can say it for the record as well, that the
 15     government's -- that the bodily injuries at issue here are the
 16     gunshot wounds, that those are the bodily injuries that the
 17     government intends to prove at trial, and that with respect to
 18     the use of force, the government's position is that all
 19     16 shots fired by the defendant represented an unreasonable
 20     use of force.
 21                MR. HERBERT: And that satisfies me with respect to
 22     that, Judge.
 23                THE COURT: Okay.
 24                MR. HERBERT: But I guess there's one other portion,
 25     though. In light of the circumstances in this case, I still
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 6 of 8 PageID #:1304

                                                                                  10

   1    believe that the charges need to be more specific, and I'll
   2    explain why briefly, Judge.
   3               As you know, my client is a Chicago police officer.
   4    The night in question, he was on duty working as a Chicago
   5    police officer. The police department policy, as well as
   6    state law, gives police officers the authority to use force to
   7    effect an arrest, gives police officers the authority to use
   8    deadly force to prevent escape when someone is using a deadly
   9    weapon, such as a vehicle. It also allows them to use deadly
 10     force in protection of others.
 11                So, I think it needs to be cleared up. If the law
 12     and the department policy do not prohibit and more
 13     specifically allow for the conduct of Mr. Proano, I think
 14     that the government needs to identify what actions were
 15     unreasonable in light of the laws and the policy in place.
 16                THE COURT: Is the answer the 16 gunshots?
 17                MS. ALEXAKIS: Yes, your Honor. There's a
 18     disagreement as to whether or not the use of force was in
 19     accordance with the policy and the law.
 20                MR. HERBERT: Well, I guess my only -- and I tried to
 21     look up a little support for this, and there wasn't, but if --
 22     Marco Proano's already put his defense out there. It's
 23     certainly not a secret. But he was -- he fired at the driver
 24     of the vehicle because he feared for the life of other people,
 25     specifically, the individual that was hanging outside of the
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 7 of 8 PageID #:1305

                                                                                  11

   1    vehicle.
   2               It's our position that that's within the law. That's
   3    within the policy. So, I think that the government needs to
   4    include in the indictment or it needs to go to the jury at
   5    some point that Marco Proano's belief that firing at the
   6    driver to protect the life of Individual C, who was hanging
   7    outside of the car, was not reasonable.
   8               THE COURT: Right. You said it needs to be in the
   9    indictment or it needs to go to the jury, and those are two
 10     very different things. And on going to the jury, I'll have to
 11     see what the law says, and I'll have to see what both parties
 12     argue; but it seems that the argument you're making either
 13     goes to the elements of the defense or may be an affirmative
 14     defense. And I haven't looked at it, so I can't speak one way
 15     or the other to that.
 16                But that's something that I don't think needs to
 17     be -- without having any authority provided, it's something
 18     that does not need to be in the indictment; but it may very
 19     well be something that needs to be in the jury instructions,
 20     but I don't know.
 21                What I do know -- again, maybe there's authority out
 22     there, and I'm happy to revisit this issue if you come up with
 23     authority; but my understanding is that that level of detail
 24     does not need to be in the indictment for purposes of a bill
 25     of particulars.
Case: 1:16-cr-00590 Document #: 153-1 Filed: 10/18/17 Page 8 of 8 PageID #:1306

                                                                                  12

   1               MR. HERBERT: Understood.
   2               THE COURT: So, anything else with respect to the
   3    bill of particulars?
   4               MS. ALEXAKIS: Not from the government.
   5               MR. HERBERT: Nothing else.
   6               THE COURT: Okay. So, what I'll do is I'll deny the
   7    motion for a bill of particulars. And again, if you want to
   8    come back with authority, you certainly can and should do so.
   9               With respect to the Rule 16, that's -- we still have
 10     an open issue on that. With respect to Jencks and Giglio and
 11     witnesses and exhibits, will that cascade off of a trial date
 12     if we set a trial date?
 13                MS. ALEXAKIS: Your Honor, the government represented
 14     to the defendant that at this time, it has already produced
 15     all Jencks material that's in its possession. The government
 16     obviously intends to supplement that discovery as necessary.
 17     The same with the Giglio and any Brady material.
 18                THE COURT: So, do you want -- we'll get to the
 19     Rule 16 in a moment, but do you want to set a trial date now?
 20     Are you prepared to?
 21                MR. HERBERT: I think we are. We spoke in big
 22     picture view, depending what the Court calendar is.
 23                MS. ALEXAKIS: Yes. Depending on the Court's
 24     calendar, the parties are looking at a potential trial date
 25     of August -- late summer or early fall, your Honor.
